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ROSEN and LOEB

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ROBERT JAFFEE and BARBARA JAFFEE
Plaintiff,
vs.
RUDOLPH CARRYL aka RUDY CARRYL;
CARRYL CAPITAL MANAGEMENT, LLC
and DOES 1-20, inclusive,

Defendants.

Case 2:15-cv-00113-ODW-AS Document 1

follows:

Filed 01/07/15 Pagelof8 Page ID#:

Attorneys for Plaintiffs ROBERT JAFFEE and BARBARA JAFFEE

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.
COMPLAINT FOR:

1. RICOQ-Violation of 18 U.S.C, Sec.
1962( ¢)

2. RICO-Violation of 18 U.S.C. Sec.
1962( d) by Conspiracy to Violate Sec.
1962( c)

3. Fraud and Deceit
| 4. Breach of Fiduciary Duty
5. Conversion

ROBERT JAFFEE and BARBARA JAFFEE, by its undersigned attorneys, hereby bring this
action for RICO violations, Fraud and Deceit and Breach of Fiduciary Duties, Conversion against

RUDOLPH CARRYL aka RUDY CARRYL and CARRYL CAPITAL MANAGEMENT, LLC. as

THE PARTIES
1. Plaintiffs ROBERT JAFFEE and BARBARA JAFFEE are husband and wife and
residents of the County of Los Angeles in the Central District of California.

2. Plaintiffs are informed and believe and upon that basis allege that Defendant

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COMPLAINT

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case 2:15-cv-00113-ODW-AS Documenti Filed 01/07/15 Page 20f8 Page |ID#

RUDOLPH CARRYL aka RUDY CARRYL was and is a resident of the State of New York and
CARRYL CAPITAL MANAGEMENT is a limited liability company located in the State of New
York and which RUDOLPH CARRYL aka RUDY CARRYL is the Managing Member.

3. Plaintiff is unaware of the true names and capacities of defendants named herein as
DOES | through 20, inclusive, and therefore sues them by such fictitious names. Leave of the court
will be sought to allege their true names and capacities when they have been ascertained.

4, At all times herein mentioned, each of the defendants was the agent, servant and
employee of the remaining defendants, and was at all times acting within the purpose and scope of

said agency, service and employment.

JURISDICTION AND VENUE

5. This Court has jurisdiction over the claims for relief in this action under 18 U.S.C

Section 1964(a) and subject matter jurisdiction over this action under 28 U.S.C. 1332 (a) (1).

6. Venue is proper in the District pursuant to 28 U.S.C. 1391(b)(2).
FACTUAL BACKGROUND
7. In or about 2011, when Plaintiffs were looking for a new investment advisor to

handle their portfolio, they were introduced to Defendant RUDOLPH CARRYL of CARRYL
CAPITAL MANAGEMENT and after several meetings with him to discuss investment
philosophies, Plaintiffs transferred their portfolio to Defendants.

8. On or about January 23, 2012, Defendant CARRYL, by phone and email, solicited
from Plaintiffs, a “Special Situation Investment” of $1.25 million for a pediatric unit being built at
the North Shore Long Island Jewish Medical Center, where Defendant CARR YL was a long term
trustee and headed up the finance committee at one time. Defendant CARRYL aiso advised that
CARRYL CAPITAL MANAGEMENT would also be investing in the project and the investment
would return a handsome profit of at least thirty (30%) percent and would be returned to Plaintiffs
in November 2012.

9. Relying on the representations of Defendants, in or about January 2012, Plaintiffs

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case 2:15-cv-00113-ODW-AS Document1 Filed 01/07/15 Page 30f8 Page |ID#

wire transferred to Defendants the sum of $1.25 million.

10. In September 2012, Defendant CARRYL again approached Plaintiffs with another
“Special Situation Investment “ opportunity to again invest in the North Shore Long Island Jewish
Medical Center and represented that this investment would yield at least ten (10%) percent and
would be returned by December 2012, just three (3) months later.

lt. Again relying on the representations of Defendants, Plaintiffs wire transferred
another $200,000.00 to Defendants for this second special situation investment.

12, On December 10, 2012, Plaintiffs received an email from Defendant CARRYL
wherein he advised that the Special Situation Investment of $1.25 million from January 2012 had
returned 32.1% over a ten (10) month period which translated into aa gain of $401,250.00 and funds
totaling $1,651,250.00 would be wired to Plaintiffs bank account on December 24, 2012.

13. As of this date, the funds which were to be wired on December 24, 2012 have not
been received nor has there been a return of the $200,000.00 Special Situation Investment from
September 2012.

14. Between December 27, 2012 and March 2013, Plaintiffs made numerous demands
upon Defendants for return of their funds, but Defendants have failed and refused and continue to
fail and refuse to take said action.

15. Plaintiffs are informed and believe and upon that basis allege that none of the funds
which were solicited by Defendants in January 2012 and September 2012 was used for the pediatric
unit of said hospital as represented and the solicitations were for the express purpose of Defendants
securing funds under false pretenses to pay their own personal obligations with other creditors.

FIRST CLAIM FOR RELIEF
(RICO-Violation of 18 U.S.C. Sec. 1962 (c})
Against All Defendants

16. Plaintiffs incorporate by reference all the foregoing paragraphs 1 through 15 as

though fully set forth herein.

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case 2:15-cv-00113-ODW-AS Document1 Filed 01/07/15 Page 4of8 Page |ID#

17. Plaintiffs are “persons” within the meaning of 18 U.S.C. Section 1961 (3) and 1964
(c).

18. Each and every one of the Defendants and other participants, known and unknown,
are and at all times relevant hereto, have been a “person” or “persons” within the meaning of 18
U.S.C. Sections 1961(3) and 1964(b).

19. Each and every one of the Defendants and other participants, known and unknown,
were at all times herein an “enterprise” associated in fact within the meaning of 18 U.S.C. Section
1961(4) and 1962, which was engaged in and the activities of which affected interstate commerce
at all relevant times to this Complaint.

20. ‘For the purpose of executing, attempting to execute and in furtherance of the above-
described scheme, during the years 2012 and continuing to the present, Defendants and other
participants, known and unknown, knowingly and repeatedly transmitted or caused to be transmitted
false telephone, facsimile and wire services in repeated violation of 18 U.S.C. Sections 1343 & 1344
(mail fraud and wire fraud).

21. As alleged above, Defendants’ pattern of illegal activity, operating as an enterprise,
was extensive and continuous, and includes the following predicate acts, which is not an exhaustive
list:

(a) The transmission via U.S. mail, electronically and over telephone lines
(wire fraud), of fraudulent information, actively concealing the true facts, and the electronic
transfer of funds to complete these fraudulent transactions, in violation of 18 U.S.C. Sections 1343
and 1344.

22. Each violation of the aforesaid statutes by Defendants and other participants, known
and unknown, constitutes an instance of “racketeering activity within the meaning of 18 U.S.C.
Section 1961(1).

23. The acts of racketeering activity by Defendants were interrelated and part of

a common and continuous pattern of fraudulent schemes which had and have a real threat of

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Case 2:15-cv-00113-ODW-AS Document1 Filed 01/07/15 Page5of8 Page ID#

continuing, thus constituting a “pattern of racketeering activity within the meaning of 18 U.S.C.
Section 1961(5). These acts began in 2012 and continued, on a regular basis, to the present. This
activity continues as of this Complaint and, by its history, appears likely to continue into the future.

24, By reason of the foregoing circumstances and events, each and every one of the
Defendants and other participants, known or unknown, unlawfully, willfully and knowingly
participated, directly and indirectly, in the conduct of the affairs of the enterprise through a pattern
of racketeering activity in violation of 18 U.S.C. Section 1962( c)

24. As the proximate cause of the conduct of the enterprise, Plaintiffs have been injured
in its property in excess of seventy five thousand ($75,000.00), the jurisdictional limit, as requested
in the prayer.

25. Plaintiffs are entitled to recover three-fold (treble) the sum of damages sustained as
a result of the unlawful scheme, together with attorneys fees and costs in accordance with 18 U.S.C.
Section 1964{ c)

SECOND CLAIM FOR RELIEF

(RICO-Violation of 18 U.S.C. Sec. 1962 (d) by
Conspiracy to Violate 18 U.S.C Section 1962(c))
Against All Defendants

26. Plaintiffs incorporates by reference all the foregoing paragraphs 1 through 25 as
though fully set forth herein.

27. By reason of the foregoing circumstances and events, each and every one of the
Defendants and other participants, known or unknown, unlawfully, willfully and knowingly
conspired to violate the provisions of 18 U.S.C. Section 1962 (d) by unlawfully, willfully and
knowingly conspiring to participate, directly and indirectly, in the conduct of the affairs of the
enterprise through a pattern of racketeering activity.

28. As the proximate cause of that conduct, Plaintiffs have been injured

in its property in excess of seventy five thousand ($75,000.00), the jurisdictional limit, as requested

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Case 2:15-cv-00113-ODW-AS Document1 Filed 01/07/15 Pageéof8 Page ID#

in the prayer.
29, Plaintiffs are entitled to recover three-fold (treble) the sum of damages sustained as

aresult of the unlawful scheme, together with attorneys fees and costs in accordance with 18 U.S.C.

Section 1964( c)
THIRD CLAIM OF RELIEF
(Fraud and Deceit)
Against All Defendants
30. ‘Plaintiffs incorporate by reference all the foregoing paragraphs 1 through 29 as if
fully set forth herein. .
31. Defendants made multiple representations to Plaintiffs during telephone

conversations and emails wherein they solicited $1.45 million from Plaintiffs for two Special
Situation Investment opportunities to be used for a pediatric facility at North Shore Long Island
Jewish Medical Center. Defendants falsely represented and concealed material facts, including the
following:
(a) That the money was to be used by Defendants for the said
hospital and that CARRYL CAPITAL MANAGEMENT was investing their
own funds as well.
(b) That the funds were to be used as part of their “Ponzi” scheme
for their own personal use.
(c} That the first Special Situation Investment of $1.25 million
had returned a 32.1 % profit and $1,651,250.00 would be wire transferred
to Plaintiffs on December 24, 2014.
32. The above representations and concealments were known in fact by Defendants to
have been made, to have been false, and were made with knowledge of their falsity.
33. The misrepresentations were made to Plaintiffs. All of the representations were in

fact false. Defendants knew at the time of the representations that they were false. Defendants,

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ase 2:15-cv-00113-ODW-AS Document1 Filed 01/07/15 Page 7of8 Page |ID#

themselves and\or through their agents, concealed and suppressed the true facts although the true
facts were known to them at the time of the misrepresentations.

34. Plaintiffs relied on the representations by Defendants and the non-existence of the

facts suppressed by Defendants with respect to the scheme, and Plaintiffs thereby incurred
significant damage as a result of such fraudulent conduct. As a result of Defendants’ fraud and
deceit, Plaintiffs have been damaged in an amount to be determined at trial. In addition, Defendants
acted intentionally, willfully and with the intent to injure Plaintiff, with malice, fraud, and
oppression. As a result, Plaintiffs seeks and is entitled to punitive and exemplary damages in an
amount sufficient to punish Defendants and to deter such conduct in the future.

FOURTH CLAIM OF RELIEF
(Breach of Fiduciary Duties}
Against All Defendants

35. Plaintiffs herein incorporate by reference all the foregoing paragraphs 1 through 34
as though fully set forth herein.

36, In or about 2011, Plaintiffs engaged the services of Defendants to act as their
investment consultant and to advise Plaintiffs in these matters.

37. In or about January 2012 and again in September 2012, Defendants suggested two
Special Situation investments to Plaintiffs totaling $1.45 million. Defendants breached their
fiduciary duty to Plaintiffs by misrepresenting what the funds were going to used for and then
misappropriating the invested money for their own purposes.

38. As aresult of Defendants breach of fiduciary duty, Plaintiffs have been damaged in
the sum of $1.45 million, the amount wire transferred to Defendants between January 2012 and
September 2012.

39. Asadirect, foreseeable and proximate result of Defendants wrongful conduct alleged
herein, Plaintiffs have been damaged in the said amount, plus accrued interest and since the the

actions of Defendants were committed with fraud, malice and oppression, Plaintiffs seek and is

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entitled to punitive damages in an amount to be determined at trial.
FIFTH CLAIM OF RELIEF
(Conversion)
Against All Defendants

40. Plaintiffs herein incorporate by reference all the foregoing paragraphs 1 through 39
as though fully set forth herein.

41. Atall times herein mentioned and in particular in January 2012 and September 2012,
Plaintiffs were, and still are, the owners and entitled to the possession of the following personal
property: $1.45 million.

42. In or about January 2012 ans again in September 2012, Defendants fabricated and
misrepresented facts to Plaintiffs for purposes of securing $1.45 million from Plaintiffs to be used
for their own personal use,

43, As a direct result of the actions of Defendants, Plaintiffs have been damaged in the
sum of $1.45 million plus interest according to proof.

44. The aforementioned acts of Defendants were willful, wanton, malicious, and
oppressive and were undertaken to defraud and justify the awarding of exemplary and punitive
damages in a sum according to proof.

WHEREFORE, Plaintiffs respectfully seeks the following relief from this Court;

(i) For actual damages in excess of $75,000.00 in an amount to be proven at trial;

(ii) | For an award of exemplary or punitive damages against Defendants;

(iii) | For reasonable attorneys’ fees against Defendants; and

(iii) For such further relief as the Court deems just and proper

Dated: October 28, 2014 ROSEN AND
By:

ALAN L. ROSEN

Attorneys for Plaintiffs

